              Case 8-14-71025-reg      Doc 16     Filed 04/10/18       Entered 04/10/18 13:28:41




                                           Macco & Stern, LLP
                                                  Attorneys At Law
                                             2950 Express Drive South
                                                     Suite 109
                                             Islandia, New York 11749
                                                www.maccostemlaw.com


Michael J. Macco                                                                          Telephone(631)549-7900
Richard L. Stem                                                                           Facsimile(631) 549-7845

Peter Corey
Cooper J Maeco




                                                                 April 10,2018


United States Bankruptcy Court
Clerk ofthe Court
290 Federal Plaza
Centrallslip, NY 11722-9013
Attn: Simon Marcus



                   Re:    Angela Mendez
                          Case No.: 14-71025-reg

Dear Mr. Marcus:


                   Pursuant to your request, please be advised that this case is a pending personal injury
action where I have retained the firm of Cellino & Barnes PC to continue the prosecution ofthis
action.


                   It is a pelvic mesh litigation involving many, many defendants. The litigation is
continuing and that is why the estate remains open.

                   Thank you.




              L. Stem
   .S/mh
